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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Elizabeth Aguilera
                              Plaintiff,
v.                                                  Case No.: 1:18−cv−03550
                                                    Honorable Edmond E. Chang
NuWave, LLC
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 9, 2018:


         MINUTE entry before the Honorable Edmond E. Chang: Status and motion
hearing held on Defendant's motion [25] to bifurcate discovery. As discussed during the
hearing, the motion is granted in part and denied in part. To get a rough sense of the
potential class size, the Court made inquires. Defense counsel estimated, very roughly,
that around 14,000 replacements have been sent out. On balance, the right course is to
apply MID to the merits of the individual Plaintiff's claims, while putting
class−certification propriety on a longer track, in light of the extensiveness of that
discovery and to allow for the possibility of an early summary judgment motion
(permission must be sought by motion). On the individual merits, MID disclosures due
08/24/2018. ESI discovery shall be disclosed by 10/03/2018. The first−round of written
discovery requests must be issued no later than 09/07/2018. But Defendant may issue the
first round starting now, subject to informing Plaintiff in detail, by 08/29/2018, which
requests (or sub−parts) need not be responded to in light of the MID disclosures. On the
propriety of class certification, Rule 26(a)(1) disclosures due 10/16/2018. The first−round
of written discovery requests must be issued no later than 10/30/2018. Fact discovery shall
close on 04/05/2019 for the merits of Plaintiff's individual claim and the propriety of class
certification. Status hearing set for 10/02/2018 at 9:30 a.m. Emailed notice(slb, )




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